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November 15, 2022
VIA ECF

The Honorable Valerie Caproni
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, New York 10007

Re:    Nike, Inc. v. StockX LLC, No. 22 CV 00983 (VEC) (S.D.N.Y.)

Dear Judge Caproni:

        Pursuant to the Court’s April 11, 2022 Civil Case Management Plan and Scheduling Order,
(Dkt. No. 25, the “Order”), plaintiff Nike, Inc. (“Nike”) and defendant StockX LLC (“StockX,”
and together with Nike, the “Parties”) respectfully submit this joint letter to update the Court on
the status of discovery.

        Since the last joint letter, the Parties have continued to serve and respond to discovery
requests. Nike responded to StockX’s Fifth Set of Requests for Production on October 31, 2022,
and StockX responded to Nike’s Fifth Set of Requests for Production on November 14, 2022. On
October 28, 2022, Nike served its Second Set of Requests for Admission, containing 427 requests
that Nike asserts seek to narrow the facts in dispute, such as chain of custody of the alleged
counterfeit “Nike” goods sold by StockX. StockX will respond in due course. In addition, Nike
served its Third Amended Initial Disclosures on November 1, 2022.

       The Parties have continued to make document productions and will continue to produce
responsive documents as required by outstanding discovery requests. The Parties have also
exchanged supplemental privilege logs.

        Depositions are currently planned to begin in late November with the majority of party
witness depositions confirmed. However, given the number of anticipated depositions (including
third-party depositions) and limited witness availability around the holidays, the Parties may seek
leave to take some remaining depositions after January 20, 2023, or the current close of fact
discovery.

        Since the Parties’ discovery conference before the Court on November 11, Nike has re-
produced de-designated, and in some instances, redacted versions of the documents subject to the
Parties’ dispute. The Parties will work cooperatively together to avoid the need for further court
intervention on this issue. However, while the Parties are working in good faith to reach
negotiated resolutions of issues regarding the scope of responses and objections to the Parties’
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respective discovery requests and privilege logs exchanged to date, certain disputes will likely
require the assistance of the Court prior to the next scheduled status update.

       The Parties thank the Court for its attention to this matter.

Respectfully submitted,

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